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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO
                                    ____________________

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                                     Case No. 1:22-cr-1907-WJ

MAURICE LACEY,

        Defendant.


     MEMORANDUM OPINION AND ORDER DENYING DEFENDANT’S MOTION TO
                 DISMISS FOR SPEEDY TRIAL VIOLATION

        THIS MATTER is before the Court on pro se1 Defendant Maurice Lacey’s Motion to

Dismiss for Violations of His Right to a Speedy Trial (Docs. 85 & 88). The United States opposes

the motion (Doc. 93). Having reviewed the pleadings and the applicable law, the Court concludes

the Government did not violate the Speedy Trial Act or Defendant’s Sixth Amendment right to a

speedy trial. Accordingly, the motion is DENIED.

                                               BACKGROUND

        Mr. Lacey was charged by criminal complaint (Doc. 1) on October 25, 2022, with being a

felon in possession of a firearm. About a week later, on October 31, 2022, he was arrested (Doc.

4) and made his initial appearance before the Magistrate Judge.

        In early November 2022, Mr. Lacey moved to proceed pro se (Doc. 16). He then waived

his preliminary hearing and right to contest pretrial detention (Docs. 13 & 14). On November 23,




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  The Court affords “a liberal construction to pleadings of a defendant appearing pro se.” United States v. Mora, 293
F.3d 1213, 1216 (10th Cir. 2002). Of note, within days of making his initial appearance, Mr. Lacey expressed an
intense desire to represent himself. On November 7, 2022, U.S. Magistrate Judge Ritter approved Mr. Lacey’s request
to proceed pro se and simultaneously appointed standby counsel, which was the appropriate course of action at the
time.
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2022, a federal grand jury indicted Mr. Lacey (Doc. 18) for the same §§ 922(g) and 924 offenses.

At this point in time, twenty-three days elapsed between his arrest and his indictment.

        Following his indictment, Mr. Lacey was arraigned on December 1, 2022 (Doc. 21). The

next day, trial was set for January 3, 2023 (Docs. 22 & 23). In this filing, the Court laid out its trial

deadlines—including jury instructions, motions in limine, and motions to continue (Doc. 23 at 1).

Prior to the motions’ deadline, Mr. Lacey filed a notice of expert witness (Doc. 27). This filing

was docketed on December 9, 2022. Sixteen days on the speedy trial clock passed from indictment

to the filing of this motion.

        Then, on December 13, 2022, the United States filed a motion to continue (Doc. 28).

Specifically, the United States moved for a continuance based upon Mr. Lacey’s pro se expert

notice (Doc. 27) that lacked an identified expert, draft report, or disclosures (Doc. 28 at ¶ 7). Three

days later, the Court granted the motion to continue (Doc. 29) based upon Mr. Lacey’s pro se

motion. 18 U.S.C. § 3161(h)(1)(D). In its Order, the Court excluded time, for Speedy Trial Act

purposes, from the filing of Mr. Lacey’s motion until the reset trial date of March 6, 2023. Id. at

1–2.

        During this period of excludable delay following the continuance, a lot happened. First,

Mr. Lacey withdrew his notice of an expert (Doc. 30). Then, on February 10, 2023, standby counsel

filed a motion moving for a competency evaluation pursuant to 18 U.S.C. § 4241(b) (Doc. 42).

The Court necessarily vacated the March trial date, Doc. 46, before ultimately granting standby

counsel’s motion (Doc. 51) on March 13, 2023. Between March and May, Mr. Lacey underwent

a competency evaluation and was found incompetent to stand trial (Doc. 55). Following the

conclusion of this evaluation, the Court held a hearing (Doc. 59), on May 11, 2023—at which time




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Mr. Lacey’s right to proceed pro se was revoked and new standby counsel2 was appointed (Doc.

60 at 3).

        A few days later, on May 16, 2023, the United States filed a motion seeking a second

competency evaluation (Doc. 61). See United States v. Anderson, 679 F. App’x 711, 712–13 (10th

Cir. 2017) (unpublished) (explaining that once a Defendant is found “mentally incompetent”, upon

request of the Government, the Court has no discretion and “must” commit the Defendant to the

custody of the Attorney General); cf. 18 U.S.C. § 4241(d). Four days elapsed between the Court’s

Supplemental Order (Doc. 60) and the United States’ filing of their motion (Doc. 61). Four

additional unexcludable days will be counted during this period where no motions were pending

and the (first) competency evaluation was completed. Thus, a total of twenty days of post-

indictment speedy trial time had elapsed.3

        When the Court granted the United States’ motion for a second evaluation over Mr. Lacey’s

strenuous objection, it explicitly excluded “the period of commitment” from speedy trial

calculations (Doc. 64 at 7). 18 U.S.C. § 3161(h)(1)(A). Mr. Lacey was committed to the custody

of the Attorney General so that another competency evaluation could be performed at a Bureau of

Prisons medical facility. 18 U.S.C. §§ 4241(b), 4247(b). The parties appeared for a hearing on the

second evaluation on December 13, 2023 (Doc. 74). On December 15, 2023, the Court found Mr.

Lacey was competent to stand trial and proceed pro se (Doc. 75).

        An Order and Notice of Trial was filed by the Court on January 9, 2024 (Doc. 79). In this

Order, the motions’ deadline was set for March 4, 2024. The trial was set for March 25, 2024. The


2
  Mr. Lacey was upset at original stand by counsel’s motion for a competency evaluation so new stand by counsel was
appointed.
3
  In calculating the total days of elapsed speedy trial time, the Court added: (1) the sixteen days between November
23, 2022, and December 9, 2022, with (2) the four days of nonexcludable speedy trial time in between competency
evaluations from May 12–May 16, 2023.


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Court also explained4 the time from finding Defendant competent until jury selection was to be

excluded for purposes of the Speedy Trial Act (Doc. 79 at 1). This Order tolled all the time from

December 15, 2023, to March 25, 2024.

         Considering the numerous delays from competency evaluations and pretrial motions, a

negligible amount of time under the Speedy Trial Act has actually passed. As it stands,

twenty‑three days passed from arrest to indictment and twenty days have passed since indictment.

As detailed above, the remaining four hundred days have been properly excluded (and documented

in numerous Orders). An application of the Speedy Trial Act as well as the Barker v. Wingo, 407

U.S. 514 (1972) framework shows quite clearly that Defendant Lacey’s right to a speedy trial has

not been violated.

                                                  DISCUSSION

         In his instant motion, Defendant Lacey argues that the Government violated his statutory

(Speedy Trial Act) and Sixth Amendment speedy trial rights. Docs. 85 & 88. The Court disagrees

and finds that no violation to his statutory or constitutional speedy trial rights occurred.

I. Speedy Trial Act

         The Speedy Trial Act was enacted to assist courts in protecting the interests embodied in

the Speedy Trial Clause. United States v. Loud Hawk, 474 U.S. 302, 304 n.1 (1986). Under the

Act, the Government must indict a Defendant within thirty days of the arrest. 18 U.S.C. § 3161(b).

The Act also requires Defendants be brought to trial within seventy days of their indictment. 18

U.S.C. § 3161(c)(1). At the same time, however, the Act allows for certain periods of delay to be

excluded from the seventy‑day requirement. United States v. Hicks, 779 F.3d 1163, 1170 (10th



4
  The Court explained that additional time was necessary to allow for pretrial motions, hearings, and trial preparation.
See 18 U.S.C. § 3161(h)(7)(B)(i)–(iv). The Court also explained that the ends of justice were served by continuing the
trial. 18 U.S.C. § 3161(h)(7)(A).


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Cir. 2015); 18 U.S.C. § 3161(h). Of note, these statutorily authorized periods of excludable delay

include competency proceedings, periods of pending pretrial motions, and ends of justice

continuances. 18 U.S.C. §§ 3161(h)(1)(A), (h)(1)(D), (h)(4), (h)(7).

         The constitutional and statutory rights to a speedy trial operate in tandem—with the Act

providing timelines that effectuate the right to a speedy trial. United States v. Keith, 61 F.4th 839,

845 (10th Cir. 2023); United States v. Medina, 918 F.3d 774, 779 (10th Cir. 2019). It is no surprise,

then, that it will be an “unusual case”5 in which the Speedy Trial Act is followed, but the

Constitution violated.

         To show an “STA violation” a Defendant must demonstrate that “more than 70

unexcludable days” have elapsed. Keith, 61 F.4th at 852. Only twenty days of unexcludable time

post‑indictment have elapsed here. Necessarily, Mr. Lacey’s motion to dismiss on statutory speedy

trial grounds fails (Doc. 93 at 6–9) and, unsurprisingly, this case is not the “unusual” instance

where a Sixth Amendment violation occurred despite compliance with the Act.

II. Constitutional Speedy Trial Right

         The Sixth Amendment provides: “In all criminal prosecutions, the accused shall enjoy the

right to a speedy and public trial.” U.S. Const. amend. VI. To determine whether a trial delay

violates a Defendant’s speedy trial right, federal courts must balance four factors: (1) the length of

the delay, (2) the reason for the delay, (3) whether the defendant asserted his right to a speedy trial,


5
  Tenth Circuit precedent explains “it is unusual to find a Sixth Amendment violation when the Speedy Trial Act has
been satisfied.” United States v. Abdush-Shakur, 465 F.3d 464–65 (10th Cir. 2006). Although slightly different than
our sister circuits’ use of the phrase “unusual case”—the language in both indicates a violation of the Act is typically
a precondition to holding a constitutional violation. In fact, the Seventh Circuit is the only court of appeals to have not
deployed the “unusual” language in an opinion. See, e.g., United States v. Mitchell, 723 F.2d 1040, 1049 (1st Cir.
1983); United States v. Black, 918 F.3d 243, 277 (2d Cir. 2019); United States v. Rodriguez-Mendez, 2023 U.S. App.
LEXIS 11558, at *11 (3d Cir. 2023) (unpublished); United States v. Pair, 84 F.4th 577, 589 (4th Cir. 2023); United
States v. Bieganowski, 313 F.3d 264, 284 (5th Cir. 2002); United States v. DeJesus, 887 F.2d 114, 116 n.1 (6th Cir.
1989); United States v. Thirion, 813 F.2d 146, 154 (8th Cir. 1987); United States v. Nance, 666 F.2d 353, 360 (9th
Cir. 1982); United States v. Davenport, 935 F.2d 1223, 1238–39 (11th Cir. 1991); United States v. Rice, 746 F.3d
1074, 1081 (D.C. Cir. 2014).


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and (4) whether the delay prejudiced the defendant. Barker, 407 U.S. at 530. “No one factor is

dispositive nor talismanic”—so all four must be considered. United States v. Velazquez, 749 F.3d

161, 174 (3d Cir. 2014); see also United States v. Seltzer, 595 F.3d 1170, 1176 (10th Cir. 2010).

Upon consideration of all the Barker v. Wingo factors, the Court finds Defendant’s constitutional

speedy trial right has not been violated.

       A. Length of delay

       Delays in excess of one year are presumptively prejudicial, Doc. 93 at 10, and require a

full Barker analysis. United States v. Batie, 433 F.3d 1287, 1290 (10th Cir. 2006); United States

v. Hernandez, 457 F.3d 416, 420 (5th Cir. 2006) (“A full-fledged four-factor analysis is warranted

here because the total time from indictment to trial exceeded one year.”). The speedy trial right

attaches at either the arrest or indictment—whichever is earlier. United States v. Marion, 404 U.S.

307, 320–21 (1971). The Act then requires the Defendant be brought to trial within seventy days

of the initial appearance or indictment (whichever occurs later). See Medina, 918 F.3d at 783; see

also 18 U.S.C. § 3161(c)(1).

       In this case, Mr. Lacey appeared for his initial appearance approximately fifteen months

ago and was indicted approximately fourteen months ago. Accordingly, the delay is

“presumptively prejudicial.” Doggett v. United States, 505 U.S. 647, 652 (1992). The Court,

therefore, turns to the second inquiry: “the extent to which the delay exceeds the bare minimum

for judicial examination of the claim . . . based on the simplicity or complexity of the federal




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charge.” United States v. Nixon, 919 F.3d 1265, 1270 (10th Cir. 2019) (first quoting Jackson v.

Ray, 390 F.3d 1254, 1261 (10th Cir. 2004); then citing Seltzer, 595 F.3d at 1176).

           The Court finds that the length of the delay is considerable. Especially so given “the

uncomplicated nature of the felon-in-possession charge.” Nixon, 919 F.3d at 1270. This factor

weighs in Defendant’s favor.

           At the same time, however, this case has suffered delays due to Defendant’s multiple

competency proceedings, changes in counsel, request to proceed pro se, and filing of pretrial

motions. Thus, despite a finding that the length of the delay weighs in Defendant’s favor, the Court

also finds the delay to be reasonable in light of 18 U.S.C. § 3161(h)(1)(A), (D).

           B. Reasons for delay

           When assessing the reasons for delay, the Court looks to assign6 the cause to a particular

party. United States v. Lewis, 586 F. Supp. 3d 1094, 1101 n.20 (D. Kan. 2022); cf. Ali v.

Commonwealth, 75 Va. App. 16, 42 (Va. Ct. App. 2022) (explaining how speedy trial calculations

assign “fault” to the parties). Put simply, delays attributable to a defendant do not weigh against

the Government. United States v. Larson, 627 F.3d 1198, 1208 (10th Cir. 2010).

           Here, the Government asserts that the vast majority of delays in this case are attributable

to Mr. Lacey (Doc. 93 at 11–14). Specifically, the Government attributes the delay to Mr. Lacey’s

competency proceedings, changes in counsel and pro se status, and filing of pretrial motions. Id.

           As an initial matter, Mr. Lacey filed a pro se motion to introduce expert testimony (Doc.

27) on December 9, 2022. As the Court’s Order (Doc. 28) granting the continuance explained,

motions toll the speedy trial clock. See Loud Hawk, 474 U.S. at 316–17; United States v. Black,

830 F.3d 1099, 1113 (10th Cir. 2016). Even though Mr. Lacey withdrew his notice of expert



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    In the end, the Court agrees that “the United States shoulders little blame for the delays in this case.” Doc. 93 at 14.


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testimony (Doc. 30) on December 13, 2022, by that time, the Court had already continued the trial

to March 2023. And, as the procedural timeline above indicates, it was during this time pending

the continued trial that standby counsel requested, and the Court ordered, a competency evaluation

under 18 U.S.C. § 4241.

         The delay resulting from Mr. Lacey’s competency7 evaluations cannot be attributed to the

Government. 18 U.S.C. § 3161(h)(1)(A). With respect to competency evaluations, it is important

to note that the Court has an “independent obligation” to address competency issues when a

defendant is asking to proceed pro se. See United States v. Graham, 429 F. App’x 783, 788 (10th

Cir. 2011) (unpublished) (citing United States v. Newman, 733 F.2d 1395, 1400 (10th Cir. 1984));

see also United States v. Collins, 430 F.3d 1260, 1268 (“If a question as to [defendant’s]

competency again arises, the district court should order a psychological evaluation.”); cf. 18 U.S.C.

§ 4241(a). The same heightened obligation applies to standby counsel. When standby counsel

raises the question of competency, “the attorney triggers an evaluation process” that necessarily

delays the resolution of the case. Anne Bowen Poulin, The Role of Standby Counsel in Criminal

Cases: In the Twilight Zone of the Criminal Justice System, 75 N.Y.U. L. REV. 676, 714 (2000).

Mr. Lacey’s situation8 is not unique though. The Tenth Circuit has explained that when standby

counsel raises competency—even against a defendant’s wishes—the right to proceed pro se is



7
  See United States v. Taylor, 353 F.3d 868, 869 (10th Cir. 2003) (explaining § 4247(b) does not limit the time
excludable under the Speedy Trial Act for competency evaluations); Johnson v. United States, 333 F.2d 371, 374
(10th Cir. 1964) (“Appellant cannot complain of the denial of his constitutional right to a speedy trial because of his
confinement in a State mental institution . . . for the very purpose of determining his competency to stand trial.”);
United States v. Ruiz, 854 F. App’x 259, 261 n.3 (10th Cir. 2021) (unpublished) (explaining a Speedy Trial Act claim
premised upon a violation of § 4247(b) is foreclosed by Taylor).
8
  For an in-depth discussion of the role of standby counsel appointed to assist pro se Defendants, see 75 N.Y.U. L.
REV. 676, 710–15 (2000). In this article, Professor Poulin explains that “At least in serious cases, defense counsel
should raise, and the court should explore, the question of competency if any concern exists . . . while any defendant
risks unfair results when representing herself, a defendant who is at best marginally competent is even more
vulnerable.” Id. at 714. She also pushes back on the notion that questions regarding a pro se Defendant’s competency
should be characterized as a “Catch-22”—given that neither the courts nor standby counsel can “allow”
self‑representation under such circumstances. Id. at 709–11.


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paused until competency is resolved. United States v. Boigegrain, 155 F.3d 1181, 1185–86 (10th

Cir. 1998). It should come as no surprise then that this was the course of action followed by the

Court (Doc. 60 at 3).

       Altogether, Defendant Lacey’s competency proceedings lasted approximately ten months.

Despite the fact that Mr. Lacey opposed (Doc. 44) standby counsel’s motion (Doc. 42), the speedy

trial time is not shifted back onto the Government. United States v. Tigano, 880 F.3d 602, 616 (2d

Cir. 2018) (explaining that only in “an exceptional case” will “a delay caused by a defense attorney

count[] against the government”). This case is not an exceptional one.

       The same logic applies to the second competency evaluation (Docs. 61 & 64). Although

opposed by Mr. Lacey, the time is clearly excludable under 18 U.S.C. § 3161(h)(1)(A), (D). The

Court finds that the Government has had no control over Mr. Lacey’s competency evaluation

timeline (Doc. 93 at 14). This is especially true given that Mr. Lacey was uncooperative during

his evaluations. See Docs. 55 & 67 (stating Mr. Lacey “did not cooperate fully,” “did not want to

cooperate,” and “refused to participate in the evaluation”); see generally United States v. Loya-

Rodriguez, 672 F.3d 849 (10th Cir. 2012) (discussing the difficulties counsel and the court face

when dealing with a Defendant who is uncooperative during competency proceedings); United

States v. Nunez, 137 F. App’x 214, 215–16 (11th Cir. 2005) (per curiam) (discussing a Defendant

who was “uncooperative” during competency proceedings despite his desire to proceed pro se).

Mr. Lacey’s behavior—whether it be uncooperative or obstructionist—is obviously a reason for

the delay in the competency proceedings and this type of reason for delay cannot be attributed to

the Government. United States v. Stanley, 396 F. App’x 482, 485–86 (10th Cir. 2010)

(unpublished) (finding that defendant’s complaints about “the delay resulting from

the . . . competency evaluation” was properly attributable to the defendant’s refusal to cooperate).




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         Further supporting attribution to Mr. Lacey is the fact that he insists on proceeding pro se.

The statute9 and case law10 are clear—Mr. Lacey could not represent himself while his competency

was in question (Doc. 60). Because the competency proceedings account for nearly all of the delay

in Mr. Lacey’s case, and because Mr. Lacey insists on proceeding pro se, this factor weighs in the

Government’s favor. Periods of delay involving incompetence or competency proceedings are

excludable. 18 U.S.C. §§ 3161(h)(1)(A), (h)(4). Functionally, however, this was also a delay “due

to the unavailability of a necessary individual” and is justified. United States v. Tranakos, 911 F.2d

1422, 1428 (10th Cir. 1990) (citing Barker, 407 U.S. at 531). Simply stated, nothing could happen

until Mr. Lacey was found to be competent or restored to competence and thus, became

“available.” His desire to proceed pro se highlights the dilemma of a “necessary individual” being

unavailable. Certainly, this delay cannot be attributed to the Government.

         Mr. Lacey’s motion does not identify any delays in the “deliberate” or “negligent”

categories. Barker, 407 U.S. at 531. The final Barker category of delay is excusable delay. Id. As

previously stated, over four hundred days of excusable delay are properly attributed to Mr. Lacey.

Accordingly, the Court finds that the “reason for delay” factor weighs strongly in favor of the

Government. Hicks, 779 F.3d at 1168.

         C. Mr. Lacey’s assertion of the right

         Mr. Lacey contends he “invoked his Federal Speedy Trial Act” right about one week after

he requested to proceed pro se (Doc. 85 at 2). This date would be sometime in November 2022.

Mr. Lacey further avers that during the Faretta hearing he “made it clear” that “one of his main


9
  In its Supplemental Order, the Court cited to 18 U.S.C. § 4247(d); cf. 18 U.S.C. § 3161(h)(4).
10
   The Court cited the Supreme Court’s holding in Pate v. Robinson, 383 U.S. 375 (1966) for the proposition that a
non‑waivable right to counsel attaches during competency proceedings. Although this right to counsel does not apply
to competent pro se Defendants, Torrence v. Peterson, 2022 U.S. App. LEXIS 35854 (10th Cir. 2022) (unpublished),
the Court cited various out‑of‑Circuit cases explaining a Defendant may not represent himself when his competency
is at issue. United States v. Ross, 703 F.3d 856, 871 (6th Cir. 2012); United States v. Klat, 156 F.3d 1258, 1263 (D.C.
Cir. 1998); United States v. Purnett, 910 F.2d 51, 55 (2d Cir. 1990).


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purposes in being pro se was to avoid any form of prolonging the case.” Id. While the Court

acknowledges Mr. Lacey might have thought he articulated this right at the Faretta hearing, the

transcript contains no such assertion (Doc. 37). According to the docket, Mr. Lacey first asserted11

his speedy trial rights (Doc. 32) in early January 2023 (Doc. 85 at 3).

           Mr. Lacey contends that an assertion of the speedy trial right is a prerequisite to claiming

a speedy trial violation, (Doc. 85 at 5), and he is partially correct. An assertion of the right is one

of the factors.

           In evaluating this factor, the Court must ask “whether the defendant’s behavior during the

course of litigation evinces a desire to go to trial with dispatch.” Batie, 433 F.3d at 1291. In so

doing, the Court weighs the “frequency” and “force” of the assertions. Barker, 407 U.S. at 529.

“If the defendant fails to demand a speedy trial, moves for many continuances, or otherwise

indicates that he is not pursuing a swift resolution of his case, this factor weighs heavily against

[him].” United States v. Gould, 672 F.3d 930, 938–39 (10th Cir. 2012).

           Here, Mr. Lacey demanded speedy trial in January 2023—and at every hearing since. Mr.

Lacey’s assertions are “entitled to strong evidentiary weight” in assessing whether he is being

deprived of this right. Barker, 407 U.S. at 532. However, despite Mr. Lacey’s “frequent” assertion

of the right, the Court finds that the “force” of his assertions is not particularly strong. Barker, 407

U.S. at 529. First, the Court notes that Mr. Lacey did not immediately assert his speedy trial right

(Doc. 32). Second, assertions of speedy trial rights “must be viewed in light of [Defendant’s] other

conduct,”—including the filing of pretrial motions and the desire to proceed pro se (juxtaposed

against his need to be competent). Finally, Mr. Lacey’s conduct is at odds with his speedy trial




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     The Clerk’s minutes state that Mr. Lacey mentioned speedy trial and explained he does not want the case continued.


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assertions. Loud Hawk, 474 U.S. at 315 (third Barker factor did not support defendants who made

“repetitive and unsuccessful motions” while also filing speedy trial assertions).

       For these reasons, the Court finds that the “assertion of right” factor does not favor Mr.

Lacey (Doc. 93 at 14).

       D. Lack of prejudice

       Prejudice, the fourth Barker factor, does not help Mr. Lacey. The Sixth Amendment

protects against three sorts of prejudice: (1) oppressive pretrial incarceration, (2) increased anxiety,

and (3) most importantly, damage to one’s defense. United States v. Garcia, 74 F.4th 1073, 1100

(10th Cir. 2023) (quoting Seltzer, 595 F.3d at 1179).

       Mr. Lacey asserts he suffered prejudice “because his strategy, told in open court in part,

was to keep his proceedings within speedy trial time limits.” Doc. 85 at 5.

       First, fifteen months of pretrial incarceration is not per se oppressive. Barker, for example,

was not brought to trial for over five years. Ransom v. Roberts, 1993 U.S. App. LEXIS 5949, at

*11 (10th Cir. 1993) (unpublished). As a threshold matter, the Court finds that the delay in this

case is not “extreme,”—meaning Mr. Lacey is not relieved of his burden to show particularized

prejudice. Larson, 627 F.3d at 1209.

       Second, Mr. Lacey has not alleged cognizable harms. Virtually all defendants awaiting trial

in detention experience what Mr. Lacey claims to have suffered (Doc. 85 at). The case law requires

“some special harm suffered which distinguishes his case.” Gould, 672 F.3d at 939. Because Mr.

Lacey presents no such evidence—this factor cannot favor him.

       Finally, the delays here have ensured Mr. Lacey is able to represent himself, which has

been his desire from the early stages of this case. “A criminal defendant may not delay his trial

and then complain that it took too long.” United States v. Jones, 2021 U.S. App. LEXIS 27295, at




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*1 (3d Cir. 2021) (unpublished). Although the Court is fully aware that Mr. Lacey believes his

ability to mount a defense is hampered, he alleges nothing more than conclusory assertions. Mr.

Lacey does not mention the loss of specific evidence or unavailability of certain witnesses. Cf.

United States v. Toombs, 574 F.3d 1262, 1275 (10th Cir. 2009) (no prejudice existed where, even

assuming the first two interests were shown, the defendant did not show his defense was hindered).

In fact, Mr. Lacey made clear that “everything that I need, I already have” (Doc. 53 at 33–34). In

his motion, Mr. Lacey states that his “right to proceed pro se should have been protected.” Doc.

85 at 5. What Mr. Lacey fails to realize, however, is that he could not proceed pro se after standby

counsel filed a motion for a competency evaluation and after the mental health expert who

performed the first competency evaluation determined that Mr. Lacey was not competent to stand

trial. Docs. 42 & 55.

       In that same vein, Mr. Lacey does not want to accept the fact that original standby counsel

had a duty to raise competency. See supra ¶ II.B & n.7. With the issue of competency to stand trial

having been legitimately raised, the Court was obligated to order the initial competency evaluation.

Moreover, the Court was also obligated to grant the Government’s motion for a second

competency evaluation because at the time the Government filed the motion for a second

competency evaluation, the only credible evidence in the record on the issue of competency to

stand trial was the first mental competency evaluation rendered by a qualified mental health

professional who opined that Mr. Lacey was not competent to stand trial (Doc. 55). Standby

counsel, the Government, and the Court took these steps to protect Mr. Lacey’s rights—as was

required of them. See Pate, 383 U.S. at 384 (explaining the right not to stand trial while

incompetent is sufficiently important to merit protection).




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        While Mr. Lacey may take issue with the time and the process associated with the Court

obtaining a second competency evaluation by a qualified mental health professional at a Bureau

of Prisons Medical Facility, the Court ultimately made a finding that Mr. Lacey was competent to

stand trial and that finding was based on the second competency evaluation of Mr. Lacey

conducted at the Bureau of Prisons Medical Facility. Mr. Lacey is hard pressed to take issue with

the Court’s finding that he’s competent to stand trial since that was his stated position from the

very beginning of this case. Accordingly, the Court finds that Mr. Lacey has not suffered any

concrete harm and that this factor favors the Government.

                                               CONCLUSION

        Defendant Lacey is unable to show a statutory Speedy Trial Act violation because fewer

than seventy unexcludable days have elapsed from indictment to the scheduled trial date.

Additionally, given the compliance with the Speedy Trial Act, the Court finds there is also no

Sixth Amendment speedy trial violation under Barker.12

        IT IS THEREFORE ORDERED that Defendant’s Motion to Dismiss (Docs. 85 & 88)

is hereby DENIED.




                                                     _____________________________________
                                                     CHIEF UNITED STATES DISTRICT JUDGE




12
   The Court notes for the record that it has reviewed and considered Mr. Lacey’s Sealed Exhibit (Doc. 92) to his
Motion (Doc. 85). The Sealed Exhibit contains a litany of complaints about former standby counsel and was apparently
drafted in December 2023 but not filed until February 1, 2024. The contents of the Sealed Exhibit do not alter the
Court’s conclusion that there has been neither a violation of the Speedy Trial Act nor a constitutional violation of
Defendant’s speedy trial rights.


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